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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

RETHINK35, et al.,                                        §
                                                          §
                                  Plaintiffs,             §
                                                          §
v.                                                        §    CIVIL ACTION NO. 1:24-CV-00092-DII
                                                          §
TEXAS DEPARTMENT OF                                       §
TRANSPORTATION,                                           §
                                                          §
                                  Defendant.              §


                      NOTICE OF LODGING THE THIRD SUPPLEMENT
                           TO THE ADMINISTRATIVE RECORD

             Defendant hereby lodges with the Court the Third Supplement to the

     Administrative Record for the Texas Department of Transportation’s (TxDOT)

     decision regarding the I-35 Capital Express Central Project from US 290 East to State

     Highway 71/Ben White Boulevard (“CapEx Central” or “Project”). The Third

     Supplement to the Administrative Record for the Project consists of 8521 pages (Bates

     numbered TxDOT-AR-057032 through TxDOT-AR-057884) contained on one flash

     drive. The Declaration of Doug Booher (“Declaration”) certifying the Third

     Supplement to the Administrative Record is attached to this notice. An index of the

     Third Supplement to the Administrative Record is attached to the Declaration as

     Exhibit 1.




     1 The Third Supplement’s 852 pages is in addition to TxDOT’s originally filed 52,462-page Administrative

     Record filed on June 11, 2024, Dkt. 28, TxDOT’s 399-page supplement to the record filed on September 4, 2024,
     Dkt. 38, and TxDOT’s 4,169-page supplement to the record filed on November 22, 2024, Dkt. 52. With the Third
     Supplement, TxDOT’s administrative record comprises 57,882 pages.
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        TxDOT filed its Administrative Record on June 11, 2024. Dkt. 28. Plaintiffs

requested additional documents on June 28, 2024, and on September 3, 20242. On

September 4, 2024, in response to the June 28, 2024 request, TxDOT voluntarily filed

its Supplemental Administrative Record, which included the March 2023 TxDOT

Environmental Guide: Volume 2 Activity Instructions, along with a list identifying

and specifying the locations of nearly 10,000 pages of comment letters and emails and

related attachments already included in TxDOT’s administrative record. Dkt. 38. On

October 10, 2024, Plaintiffs filed their Motion to Complete and Supplement the

Administrative Record, and, in the Alternative, Request for Judicial Notice. Dkt. 43.

The 4,169-page Second Supplement to the Administrative record responded to

Plaintiffs’ motion seeking completion of the Administrative Record, which includes

documents sought in plaintiffs’ September 3, 2024 request. On December 20, 2024,

this Court ordered TxDOT to supplement the administrative record with eleven

documents listed in the order. Dkt. 56. The Third Supplement to the Administrative

Record contains the materials directed to be added to the administrative record by

the Court’s December 20, 2024 order.

        On January 13, 2025, the Third Supplement to the Administrative Record for

the Project contained on a flash drive was served on counsel for Plaintiffs, Save Our

Springs Alliance, ATTN: Robert J. Levinski, 4701 Westgate Blvd., Ste. D-401, Austin,

Texas 78745, phone: (512) 477-2320, ext. 105, and on Rachel S. Doughty, Esq.,


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  TxDOT sent via Federal Express overnight delivery the flash drives containing the voluntary supplement on
September 3, 2024 for delivery on September 4, 2024. Those drives had already been prepared when Plaintiffs’ second
request for supplementation was received via e-mail, thus, the second request for supplementation was not part of the
voluntary supplement filed on September 4, 2024.

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Greenfire Law, PC, 2748 Adeline Street, Suite A, Berkeley, CA 94703, phone: (510)

900-9502, ext. 706. Two courtesy copies of the Third Supplement to the

Administrative Record on flash drives have also been delivered to the United States

District Court for the Western District of Texas, U.S. District Clerk’s Office, ATTN:

Alicia Davis, Divisional Office Manager, 501 West Fifth Street, Suite 1100, Austin,

Texas 78701, phone: (512) 916-5896, one for use by the Clerk and one for delivery to

the assigned Judge’s chambers.

      Dated this 13th day of January 2025.



                                       Respectfully submitted,

                                       KEN PAXTON
                                       Attorney General of Texas

                                       BRENT WEBSTER
                                       First Assistant Attorney General

                                       RALPH MOLINA
                                       Deputy First Assistant Attorney General

                                       JAMES LLOYD
                                       Deputy Attorney General for Civil Litigation

                                       NANETTE M. DINUNZIO
                                       Chief, Transportation Division




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                             Attorneys for Defendant,
                             Texas Department of Transportation




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 13, 2025, I electronically filed the foregoing
Notice of Lodging the Administrative Record with the Clerk of the Court using the
CM/ECF system, which will send notification to registered users.

       Two flash drives containing the Administrative Record of the Texas
Department of Transportation were delivered January 13, 2025, via overnight
delivery to:

United States District Court for the     Via Fed Ex: 7713 1646 7592
Western District of Texas
U.S. District Clerk’s Office
ATTN: Alicia Davis, Divisional
Office Manager
501 West Fifth Street, Suite 1100
Austin, Texas 78701
Phone: (512) 916-5896


     In addition, a flash drive containing the Administrative Record of the Texas
Department of Transportation was delivered January 13, 2025, via overnight delivery
to:


Save Our Springs Alliance                Via Fed Ex: 7713 1751 4429
ATTN: Robert J. Levinski
4701 West Gate Blvd., D-401
Austin, TX 78745
Phone: 512-477-2320, ext. 105

Rachel S. Doughty, Esq.                  Via Fed Ex: 7713 1781 9278
Greenfire Law, PC
2748 Adeline Street, Suite A
Berkeley, CA 94703
Phone: (510) 900-9502, ext. 706

Attorneys for ReThink 35, et al.


                                         /s/ Lisa McClain Mitchell
                                         LISA MCCLAIN MITCHELL
                                         Assistant Attorney General



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